          Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 1 of 37




                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Jeffrey Horebe                               :
c/o Piontek Law Office                       :
58 East Front Street                         :
Danville, PA 17821                           :      23-cv-01701
                              Plaintiff      :
v.                                           :
IQ Data International, INC.                  :
21222 30th Drive                             :
Suite 120                                    :
Bothell, WA 98021                            :
and                                          :
JOHN DOES 1-10                               :
and                                          :
X,Y,Z CORPORATIONS                           :      Jury Trial Demanded
                              Defendants     :

                          FIRST AMENDED COMPLAINT

                                     INTRODUCTION

   1. This is an action for damages brought by an individual consumer for Defendant’s alleged

       violations of the Fair Debt Collection Practices Act, 15 U.S.C. 1692, et seq. (“FDCPA”)

       as well as well as for Defendant’s alleged violations of the Fair Credit Reporting Act, 15

       U.S.C. 1681, et seq. (“FCRA”).



   2. Plaintiff is Jeffrey Horebe, an adult individual with a current mailing address for purposes

       of this litigation of c/o Piontek Law Office, 58 East Front Street, Danville, PA 17821.



   3. Defendant is IQ Data International, INC., a business entity with a principal place of

       business located at 21222 30th Drive, Suite 120, Bothell, WA 98021.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 2 of 37




4. Defendants my also include John Does 1-10 and XYZ Corporations, persons or entities

   liable for the commission of the acts or omissions described in this Complaint whose

   identities are not yet know but which may become known through discovery.


5. Venue is proper in this jurisdiction because a substantial about of the transaction or

   occurrences happened in or near this jurisdiction.


6. Venue is proper in this jurisdiction because key witnesses may be located in or near this

   jurisdiction.

                                         FACTS



7. At all times mentioned in this Complaint. Defendant was attempting to collect on an

   alleged consumer debt against Plaintiff for a residential lease which was for Plaintiff’s

   personal use. According to Defendant’s records the leased property was managed by

   INTERNATIONAL CITY HOLDINGS, the original alleged creditor whom Defendant

   represented for collection purposes. However, it is not known to Plaintiff if that

   information about the named original creditor is correct.



8. Prior to the commencement of this action, Defendant IQ Data International, Inc. placed

   derogatory information on Plaintiff’s consumer reports(s) for the aforementioned

   residential rental account. An alleged balance was reported to Transunion, Equifax and

   Experian, three major consumer reporting agencies.


9. At all times mentioned in this complaint Experian Information Solutions, Inc.

   (“Experian”), Equifax Information Services, LLC (“Equifax”) and Transunion, LLC
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 3 of 37




   (“Transunion”) were “consumer reporting agencies” as contemplated by the Fair Credit

   Reporting Act, 15 USC 1681 et. seq. as well as the Fair Debt Collection Practices Act, 15

   USC 1692 et. seq.


10. On or about May 9, 2022, Defendant IQ Data International, Inc. sent Plaintiff a collection

   letter for the aforementioned residential rental account.



11. The derogatory balance reported to the consumer reporting agencies and the balance

   included in the collection latter dated May 9, 2022, included the following charges.

       a.      Interest which grew periodically.

       b.      “Cleaning charge” of $35.

       c.      “Late fee” of $75.

       d.      “Move Out” charge of $30



12. In addition to sending the above referenced collection letter, Defendant also reported a

   balance to Experian, Equifax and / or Transunion that included the above reference

   charges.



13. Plaintiff never agreed to pay the original alleged creditor any interest associated with the

   account. There was no contractual basis whereby Plaintiff agreed to pay any interest to

   the original alleged creditor.
       Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 4 of 37




14. At all times mentioned in this complaint Defendant knew or should have known that

   Plaintiff never agreed to pay the original alleged creditor any interest associated with the

   account, and that there was no contractual basis whereby Plaintiff agreed to pay any

   interest to the original alleged creditor


15. Plaintiff never agreed to pay Defendant any “cleaning charge” of $35. There was no

   contractual basis whereby Plaintiff agreed to pay the original creditor any cleaning

   charge.


16. At all times mentioned in this complaint Defendant knew or should have known that

   Plaintiff never agreed to pay Defendant any “cleaning charge” of $35, and that there was

   no contractual basis whereby Plaintiff agreed to pay the original creditor any cleaning

   charge.



17. Plaintiff never agreed to pay the original creditor a “late fee” of $75.


18. At all times mentioned in this complaint Defendant knew or should have known that the

   alleged late fee of $75 was not supported by any contract between Plaintiff and the

   original alleged creditor.




             COUNT ONE: Violation of Fair Debt Collection Practices Act
                               15 USC 1692 et. seq.
                    Illegal Imposition of Pre-Judgment Interest


19. The previous paragraphs of this complaint are incorporated by reference and made a part

   of this complaint.
       Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 5 of 37




20. At all times mentioned in this Complaint, Plaintiff was a consumer debtor as defined by

    the Fair Debt Collections Practices Act (FDCPA), 15 USC 1692 et. Seq.



21. At all times mentioned in this Complaint Defendant was is a debt collector as defined by

    the FDCPA, 15 USC 1692 et. seq.


22. The alleged debt that Defendant was attempting to collect from Plaintiff was for a past

    lease for Plaintiff’s personal residential lease.



23. Pennsylvania law is well settled in the fact that pre-judgment interest is only warranted

    on a contract for a sum certain amount of money. See Cresci Construction v. Martin, 64

    A.3d 254 ; 2013 PA Super 66 (2013).


24. The alleged balance which is the subject matter of this case was not a contract for a sum

    certain amount of money.



25. Plaintiff neither agreed to nor consented to any interest being charged on the

aforementioned account related to the residential lease that Defendant was attempting to

collect on.


26. Defendant’s May 9, 2022 letter to Plaintiff attempted to enforce a right to interest which

had no basis in law or fact. Defendant knew or should have had reason to know that no such

right of interest existed at the time the letter was sent.
       Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 6 of 37




27. When Defendant reported the alleged balance which included such purported interest to

Experian, Equifax and Transunion, Defendant attempted to enforce a right to interest which

had no basis in law or fact. Defendant knew or should have had reason to know that no such

right of interest existed.



28. By claiming interest in the May 9, 2022 letter Defendant violated 15 USC 1692(f)(1) of

the FDCPA which prohibits the addition of any collection fee unless such collection fee is

specifically agreed to by the consumer or unless authorized by applicable law.



29. By claiming interest in the May 9, 2022 letter Defendant violated 15 USC 1692e of the

FDCPA which prohibits any false and misleading statement about the character, nature or

amount of an alleged debt.


30. By reporting false information about an alleged balance which included false interest to

Experian, Equifax and / or Transunion, Defendant violated 15 USC 1692(f)(1) of the FDCPA

which prohibits the addition of any collection fee unless such collection fee is specifically

agreed to by the consumer or unless authorized by applicable law.



31. By reporting false information about an alleged balance which included false interest to

Experian, Equifax and / or Transunion, Defendant violated 15 USC 1692e of the FDCPA

which prohibits any false and misleading statement about the character, nature or amount of

an alleged debt.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 7 of 37




               COUNT TWO: Violation of Fair Debt Collection Practices Act
                               15 USC 1692 et. seq.
                    Illegal Imposition of a “Cleaning Charge”


32. The previous paragraphs of this complaint are incorporated by reference and made a part

   of this Complaint.


33. Plaintiff never agreed to pay Defendant any “cleaning charge” of $35.


34. At all times mentioned in this complaint Defendant knew or should have known that the

   “cleaning charge” was not supported by any contract.


35. At all times mentioned in this complaint Defendant knew or should have known that the

   “cleaning charge” had no legal basis.


36. At all times mentioned in this complaint Defendant knew or should have known that

   Plaintiff never agreed to pay the “cleaning charge”.


37. By imposing the “cleaning charge” in the May 9, 2022 letter, Defendant violated 15 USC

   1692(f)(1) of the FDCPA which prohibits the addition of any additional fee added onto

   the principal balance unless such collection fee is specifically agreed to by the consumer

   or unless authorized by applicable law.


38. By imposing the “cleaning charge” in the May 9, 2022 letter, Defendant violated15 USC

   1692e of the FDCPA which prohibits any false and misleading statement about the

   character, nature or amount of an alleged debt.
       Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 8 of 37




39. By reporting the alleged balance which included an “cleaning charge” to one or more

   consumer reporting agencies, Defendant violated 15 USC 1692e of the FDCPA which

   prohibits any false and misleading statement about the character, nature or amount of an

   alleged debt.



40. By reporting the alleged balance which included an “cleaning charge” to one or more

   consumer reporting agencies, Defendant violated 15 USC 1692(f)(1) of the FDCPA

   which prohibits the addition of any additional fee added onto the principal balance unless

   such collection fee is specifically agreed to by the consumer or unless authorized by

   applicable law.


          COUNT THREE: Violation of Fair Debt Collection Practices Act
                             15 USC 1692 et. seq.
                    Illegal Imposition of a $75 “Late Fee”



41. The previous paragraphs of this complaint are incorporated by reference and made a part

   of this Complaint.


42. Plaintiff never agreed to pay the original creditor a “late fee” of $75.


43. At all times mentioned in this complaint Defendant knew or should have known that the

   alleged late fee was not supported by any contract.


44. At all times mentioned in this complaint Defendant knew or should have known that the

   alleged late fee had no legal basis.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 9 of 37




45. At all times mentioned in this complaint Defendant knew or should have known that

   Plaintiff never agreed to pay the late fee of $75. Although the governing contract may

   have mentioned a late fee, it was so poorly worded and ambiguous that it failed to state

   the amount of the late fee, thus nullifying any meaning or effect of the late fee provision.


46. By imposing the “late fee” in the May 9, 2022 letter, Defendant violated 15 USC

   1692(f)(1) of the FDCPA which prohibits the addition of any additional fee added onto

   the principal balance unless such collection fee is specifically agreed to by the consumer

   or unless authorized by applicable law.


47. By imposing the “late fee” in the May 9, 2022 letter, Defendant violated15 USC 1692e of

   the FDCPA which prohibits any false and misleading statement about the character,

   nature or amount of an alleged debt.



48. By reporting the alleged balance which included an “late fee” of $75 to one or more

   consumer reporting agencies, Defendant violated 15 USC 1692e of the FDCPA which

   prohibits any false and misleading statement about the character, nature or amount of an

   alleged debt.



49. By reporting the alleged balance which included an “late fee” to one or more consumer

   reporting agencies, Defendant violated 15 USC 1692(f)(1) of the FDCPA which prohibits

   the addition of any additional fee added onto the principal balance unless such collection

   fee is specifically agreed to by the consumer or unless authorized by applicable law.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 10 of 37




                   COUNT FOUR: VIOLATION OF THE FAIR
                 CREDIT REPORTING ACT, 15 USC 1681 ET SEQ

50. The previous paragraphs of this complaint are incorporated by reference and made a part

   of this Complaint.


51. At all times mentioned within this Complaint Equifax Information Services, LLC

   (hereinafter sometimes referred to as “Equifax”) was a consumer reporting agency as

   defined by 15 USC 1681a of the Fair Credit Reporting Act.


52. At all times mentioned in this Complaint Defendant was a furnisher as that term is

   defined by 15 USC 1681a, 15 USC 1681b and 15 USC 1681s-2 of the FCRA.

53. Prior to the filing this case, Plaintiff incurred an alleged debt with INTERNATIONAL

   CITY HOLDINGS or their business affiliate. According to Defendant,

   INTERNATIONAL CITY HOLDINGS was the original creditor for the account.

54. The alleged debt was assigned by INTERNATIONAL CITY HOLDINGS to Defendant for

   collection purposes.

55. Plaintiff wrote to Defendant and disputed the account. The basis of Plaintiff’s dispute

   was whether the alleged balance was supported by a governing contract and / or

   statements related to the account.



56. Defendant received Plaintiff’s written disputes depicted in the attached exhibits to this

   Complaint.


57. Defendant even wrote back to Plaintiff and supplied documentation. But the

   documentation provided did not resolve the dispute.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 11 of 37




58. Defendant did not supply a contractual basis for the alleged balance.

59. Plaintiff did not provide statement or business records supporting the alleged balance.

60. Defendant did not make appropriate corrections to Plaintiffs Experian, Equifax or

   Transunion consumer reports.

61. Plaintiff then disputed the account to Experian, Equifax and Transunion.

62. Experian purported to have conducted an investigation into Plaintiff’s dispute. In so doin

   Experian contracted Defendant about Plaintiff’s dispute. Defendant then verified the

   disputed account information to Experian.

63. Upon information and belief Equifax and Transunion also purported to have conducted

   investigation about the dispute account. In so doing Equifax and Transunion contacted

   Defendant about the dispute. Upon information and belief, Defendant also verified the

   account information to Equifax and Transunion.

64. After Defendant verified the disputed information to one or more consumer reporting

   agencies, one or more potential creditors, leasors, and / or insurers saw Plaintiff’s

   consumer report that contained the false inaccurate account information.

65. Pursuant to 15 USC 1681s-2 et. seq., Defendant was required to update Plaintiff’s

   consumer to correct and remove false information.

66. After Defendant verified the disputed information to Experian (and possibly Equifax and

   Transunion) no consumers reports issued about Plaintiff after that point containing the

   false ID data international Inc. account were complete or accurate reports.

67. Defendant violated 15 USC 1681s-2 et. seq. by verifying the false to one or more

   consumer reporting agencies such as Experian and possibly also Equifax and Transunion.
     Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 12 of 37




68. Defendant violated 15 USC 1618 S-2 (b) of the FCRA by verifying false and misleading

   information about interest, a “late fee,” a “cleaning charge,” one or more of the above

   named consumer reporting agencies.

69. There is no private cause of action under 15 USC 1681s-2(a) alone. Only the government

   can bring a cause of action under 15 USC 11681 s-2(a). For example, the Attorney

   General could bring a claim on behalf of consumers under 15 USC 1681s-2(a).

70. But there is a private cause of action under 15 USC 1681s-2(b). See the following case

   law which distinguishes between the government right of action under 15 USC 1681s-

   2(a), and the private cause of action under 15 USC 1681s-2(b).


                  Marshall v. Swift River Academy, LLC, 2009 WL 1112768 (9th Cir.
                  2009).
                  A consumer has no private right of action under FCRA against
                  furnisher merely because the furnisher failed to provide accurate
                  information to consumer reporting agencies.

                  Beisel v. ABN Ambro Mortgage, Inc., No. 07-2219, 2007 WL2332494,
                  *1 (E.D. Pa. Aug. 10, 2007).
                  In order to prevail on a FCRA claim Plaintiff “must prove [he] notified
                  a credit reporting agency of the dispute, the credit reporting agency
                  then notified the furnisher of information, and the furnisher of
                  information failed to investigate or rectify the disputed charge.”).

                  Catanzaro v. Experian Information Solutions, Inc., 671 F. Supp.2d 256,
                  260 (D. Mass. 2009).
                  Notification by a consumer reporting agency to the furnisher is a
                  prerequisite for furnisher liability under FCRA.

                  Kaetz v. Chase Manhattan Bank, 2007 WL 1343700, *3 (M.D. Pa.
                  2006). The Court dismissed Plaintiff’s Complaint, but only because
                  Plaintiff failed to allege that he disputed the accuracy of the debt to a
                  credit agency, or that the credit agency thereafter reported dispute to
                  defendant.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 13 of 37




71. Because Plaintiff first disputed the account with Defendant, and then disputed the

   account with the credit reporting agency afterwards, and then Defendant verified the

   derogatory information to the consumer reporting agency, Plaintiff does have a private

   cause of action against Defendant under 15 USC 1681 s-2(b).



                                        LIABILITY

72. All previous paragraphs of this complaint are incorporated by reference and made a part

   of this complaint.



73. Defendant is liable for the acts committed by its agents under the doctrine of respondeat

   superior because Defendant’s agents were acting within the scope of their employment

   with Defendant.



                DAMAGES AND HARM SUFFERED BY PLAINTIFF



74. All previous paragraphs of this complaint are incorporated by reference.




75. Plaintiff believed and avers that Plaintiff is entitled to at least $1.00 actual damages,

   including but not limited to phone, fax, stationary, postage, etc.



76. Plaintiff believed and avers that Defendant’s actions were willful and / or wanton.


77. Plaintiff believed and avers that Plaintiff is entitled to $1,000.00 statutory damages under

   the FDCPA 15 USC 1692k et. seq., or other amount determined by this Honorable Court.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 14 of 37




78. Plaintiff believed and avers that Plaintiff is entitled to $1,000.00 statutory damages under

   the FCRA, 15 USC 1681n et. seq., or other amount determined by this Honorable Court.


79. Plaintiff suffered emotional distress as the result of the acts committed by Defendant in

   this complaint. The value of such emotional distress shall be determined by this

   Honorable Court. For purposes of a default judgment Plaintiff believes and avers that the

   value of such distress is no less than $10,000.00.


80. Plaintiff believes and avers that the actions of Defendant were willful and wanton thus

   warranting punitive damages under 15 USC 1681n et. seq.


81. Plaintiff avers that the amount of such punitive damages is no less than $9,000.00.


82. Plaintiff suffered a concrete injury when Defendant reported the false derogatory

   information described in this complaint to one or more consumer reporting agencies, and

   the consumer reporting agency(ies) then disseminated that information to one or more

   users of Plaintiff’s consumer report(s).


83. Plaintiff suffered a concrete injury after Defendant reported the false derogatory

   information described in this complaint to one or more consumer reporting agencies

   because Plaintiff was actively trying to get a mortgage when such derogatory information

   appeared on Plaintiff’s consumer report(s) thus blocking Plaintiff’s ability to obtain a

   mortgage.


84. Plaintiff suffered a concrete injury after Defendant reported the false derogatory

   information described in this complaint to one or more consumer reporting agencies and
           Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 15 of 37




        Plaintiff incurred costs for postage to dispute the derogatory information to Defendant

        and to the relevant consumer reporting agency(ies). Plaintiff incurred costs of no less

        than $1.00.


                                         ATTORNEY FEES



     85. All previous paragraphs of this complaint are incorporated by reference and made a part

        of this complaint.



     86. Plaintiff believes and avers that Plaintiff is entitled to reasonable attorney fees for

        prosecuting this action.


     87. Plaintiff believes and avers that the reasonable rate for attorney fees for prosecuting this

        action is $600.00 per hour, or other rate approved by this Honorable Court.


     88. Plaintiff believes and avers that such attorney fees should amount to no less than $2,500

        enumerated below.


a.      Drafting, editing, review and mailing of dispute letters to Defendant           1

b.      Drafting, editing, filing and service of complaint
        and related documents                                                           2

c.      Follow up with Defendant(s) and client                                          2


                                                _____________________________

                                                                5 x $600 = $3,000

     89. Plaintiff’s attorney fees continue to accrue as the case move forward.
      Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 16 of 37




                                      OTHER RELIEF



90. All previous paragraphs of this complaint are incorporated by reference and made a part

    of this portion of the complaint.



91. Plaintiff seeks injunctive relief barring further unlawful collection activity.



92. Plaintiff seeks such other relief as this Honorable Court may deem just and proper.



93. Plaintiff seeks the filing fee for prosecuting this action.


94. Plaintiff seeks costs for prosecuting this action.


95. Plaintiff requests / demands a jury trial in this matter
         Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 17 of 37




Wherefore, plaintiff demands judgment against defendant in the amount of $24,001.00
enumerated below.

       $1.00 more or less actual damages.

       $1,000.00 statutory damages for Count One through Count Three (FDCPA)

       $1,000.00 statutory damages for Count Four (FCRA)

       $3,000 attorney fees

       $10,000 emotional distress

       $9,000 punitive damages

       __________________________
             $24,001.00



/s/ Vicki Piontek                   5-12-2023
__________________________          _______
Vicki Piontek, Esquire              Date
Attorney for Plaintiff
58 East Front Street
Danville, PA 17821
215-290-6444
Fax: 866-408-6735
vicki.piontek@gmail.com
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 18 of 37




        EXHIBITS
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 19 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 20 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 21 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 22 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 23 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 24 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 25 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 26 of 37




                                                                CamScanner
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 27 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 28 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 29 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 30 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 31 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 32 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 33 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 34 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 35 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 36 of 37
Case 2:23-cv-01701-PD Document 3 Filed 05/30/23 Page 37 of 37
